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                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

BILLIE MONROE,                              )
                                            )
                     Plaintiff,             )
                                            )
vs.                                         )    Case No. 6:17-cv-00247-JHP
                                            )
HARTFORD UNDERWRITERS                       )
INSURANCE COMPANY                           )
                                            )
                     Defendant.             )



                STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties, by and through their respective counsel of record, and pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismissal with prejudice of the above-

captioned action. The parties shall bear their own costs and attorneys’ fees.

                                          Respectfully submitted,


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